                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )        CASE NO. 3:12-00137-3
                                                   )        JUDGE SHARP
PATRICIA DIANE BARRETT                             )
                                                   )


                                          ORDER

         Pending before the Court is Defendant’s Motion to Continue Sentencing (Docket No.

198) .

         The motion is GRANTED and the sentencing hearing set for November 1, 2013, is

hereby reset for Tuesday, November 19, 2013, at 1:30 p.m.

         It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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